                      Case 3:21-mj-00003-EMT Document 1 Filed 01/20/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                        Jesus Rivera                                 )      Case No.
                                                                     )
(AKA: JD Rivera, Jesus Delamora Rivera)                              )
                                                                     )
         'DWHRI%LUWK;;;;;;;;                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                               in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description

             18 USC § 1752(a)(1) Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful
             Authority
             18 USC § 1752(a)(2) Knowingly, With Intent to Impede Government Business or Official Functions, Engaging in
             Disorderly Conduct on Capitol Grounds
             40 USC § 5104(e)(2)(D) Engaging in Disorderly or Disruptive Conduct on Capitol Buildings or Grounds
             40 USC § 5104(e)(2)(G) Parading, Demonstrating, or Picketing in the Capitol Buildings


         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Adam Mardel, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                             2021.01.19
                                                                                                             13:14:59 -05'00'
Date:             01/19/2021
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                           __Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                                      _
                                                                                               Printed name and title
